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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6                                        SAN FRANCISCO DIVISION

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                                   8       IN RE META PIXEL HEALTHCARE                        Case No. 22-cv-03580-WHO (VKD)
                                           LITIGATION
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                                                                                              ORDER FOLLOWING APRIL 20, 2023
                                  10                                                          DISCOVERY CONFERENCE
                                           This Document Relates to:
                                  11       All Actions
                                  12
Northern District of California
 United States District Court




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                                  14             The Court held a discovery conference in this matter on April 20, 2023 regarding

                                  15   (1) preservation of ESI and other documents, (2) an ESI protocol, (3) a protective order, and (4) a

                                  16   Rule 502(d)/clawback order. As discussed during the conference, the Court orders further

                                  17   proceedings and submissions regarding these matters as follows:

                                  18             1.      By April 27, 2023, the parties shall file their proposed Rule 502(d)/clawback order

                                  19   for the Court’s review and approval.

                                  20             2.      By May 4, 2023, the parties shall file their proposed protective order for the

                                  21   Court’s review and approval. If the parties disagree regarding certain terms of the proposed

                                  22   protective order, they shall file their competing proposed orders and should conclude a concise

                                  23   explanation of their respective positions. Judge DeMarchi expects the parties to use the dispute

                                  24   resolution procedures set out the Standing Order for Civil Cases1 for any disputes concerning a

                                  25   party’s designations under the protective order, as opposed to the “judicial intervention”

                                  26   procedures in the model order. The parties’ proposed protective order(s) should reflect that

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                                           See https://cand.uscourts.gov/vkd-standing-order-for-civil-cases-april-2022/
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                                   1   change. For an example of the Court’s typical revisions to the text of the model protective order,

                                   2   please see Case No. 5:19-cv-03226-BLF, Dkt. No. 51 (secs. 6.3 and 7.4). As discussed during the

                                   3   conference, the parties may choose to use a different, more expedited approach for disputes

                                   4   concerning requests to produce a log of those reviewing paper copies of source code.

                                   5          3.        By May 9, 2023, the parties shall file their proposed ESI protocol for the Court’s

                                   6   review and approval. If the parties disagree regarding certain terms of the proposed ESI protocol,

                                   7   they shall file their competing proposed protocols and should conclude a concise explanation of

                                   8   their respective positions. Judge DeMarchi expects the parties to use the dispute resolution

                                   9   procedures set out the Standing Order for Civil Cases for any disputes concerning compliance

                                  10   with the protocol and the parties may wish to make that clear in the text of the protocol. If the

                                  11   parties have disputes about the preservation of ESI/documents that are not reflected in or

                                  12   addressed by the text of the ESI protocol, they may describe those disputes in their submissions on
Northern District of California
 United States District Court




                                  13   May 9, 2023.

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                                  15          The Court is available for a further discovery conference by Zoom videoconference on the

                                  16   following dates and times:

                                  17                •    Tuesday, May 23, 2023 at 1:30 p.m.,

                                  18                •    Friday, May 26, 2023 at 10:00 a.m. or 1:30 p.m., or

                                  19                •    Wednesday, June 1, 2023 at 9:00 a.m.

                                  20   The parties shall confer regarding a mutually agreeable date and time, and advise Judge

                                  21   DeMarchi’s courtroom deputy of their preference by April 28, 2023.

                                  22          The purpose of this further discovery conference will be to discuss (1) whether and to what

                                  23   extent aspects of discovery should be coordinated across the Healthcare, Tax, and DMV cases; and

                                  24   (2) whether any interim discovery deadlines that should be set to ensure that discovery is

                                  25   completed in an efficient and cost-effective manner, given the case management deadlines that

                                  26   will be set by the presiding judges in these cases.

                                  27          In preparation for the discovery conference, the Court will ask the parties to jointly file

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                                   1   their respective proposals one week in advance of the date set for the conference.

                                   2          IT IS SO ORDERED.

                                   3   Dated: April 20, 2023

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                                                                                                   VIRGINIA K. DEMARCHI
                                   6                                                               United States Magistrate Judge
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Northern District of California
 United States District Court




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